      Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 1 of 33




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 v.                                       Case No. 1:23-cr-00257-TSC

DONALD J. TRUMP,

        Defendant.




 PRESIDENT TRUMP’S OPPOSED MOTION FOR STAY PENDING APPEAL,
        REQUEST FOR TEMPORARY ADMINISTRATIVE STAY,
               AND MEMORANDUM IN SUPPORT




                                      1
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 2 of 33




                                        INTRODUCTION

       No Court in American history has imposed a gag order on a criminal defendant who is

campaigning for public office—least of all, on the leading candidate for President of the United

States. This Court’s Opinion and Order of October 17, 2023, Doc. 105 (the “Gag Order”), is the

first of its kind. Given its extraordinary nature, one would expect an extraordinary and compelling

justification for the Gag Order. But that is conspicuously absent. Instead, the Court generically

states it must enter the Gag Order to prevent supposed “threats” and “harassment.” This theory

falters under even minimal scrutiny.

       First, as the prosecution concedes, President Trump has not unlawfully threatened or

harassed anyone. Doc. 103 at 10:4–6 (Oct. 16, 2023 H’rg. Tr., hereafter “Tr.”) (“[T]he

government’s motion does not seem to allege that [President] Trump has actually violated any of

his conditions of release or other federal law.”). Thus, unsurprisingly, the prosecution presents no

witness who says they feel threatened or harassed by President Trump. In fact, when asked at oral

argument about evidence supporting this concern, the prosecution admitted “of course this

prejudice is speculative. We’re not going to know if these witnesses are intimidated or if this

threatening activity is intimidating other witnesses until folks testify at trial, and we may not even

know.” Tr. at 62:18–21. The Court, likewise, cited no evidence on this point, made no specific

findings, and declined to give any meaningful consideration to the prosecution’s lack of proof.

These are fatal omissions. A prior restraint cannot be based on speculation. Rather, the prosecution

must demonstrate a “clear and present danger” to a compelling government interest. United States

v. Ford, 830 F.2d 596, 600 (6th Cir. 1987).

       Unable to justify the Gag Order based on President Trump’s actions, the prosecution pivots

to third parties, alleging that unnamed others, outside of President Trump’s control, acted




                                                  2
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 3 of 33




improperly before this case began. Such concerns cannot justify the Gag Order. The Supreme

Court has repeatedly explained that citizens of this country cannot be censored based on a fear of

what others might do. Brandenburg v. Ohio, 395 U.S. 444, 447 (1969) (“[T]he constitutional

guarantees of free speech and free press do not permit a State to forbid or proscribe advocacy . . .

except where such advocacy is directed to inciting or producing imminent lawless action and is

likely to incite or produce such action.”).

       Equally important, the prosecution submitted, and the Court considered, no evidence on

the critical question of whether alternative, non-speech-restricting measures might be effective in

advancing the asserted interest in protecting witnesses. This resulted in a breathtakingly overbroad

Gag Order that, outside of a handful of narrow exceptions, prohibits any public comment regarding

a wide and undefined set of individuals and subjects. In doing so, the Gag Order shields public

officials in the highest echelons of government from criticism, including key political rivals.

       At bottom, the Gag Order violates virtually every fundamental principle of our First

Amendment jurisprudence. It imposes an overbroad, content-based prior restraint on the leading

Presidential candidate’s core political speech—notwithstanding the Supreme Court’s instruction

that First Amendment rights have their fullest and most urgent application precisely in the conduct

of campaigns for political office. Likewise, by restricting President Trump’s speech, the Gag Order

eviscerates the rights of his audiences, including hundreds of millions of American citizens who

the Court now forbids from listening to President Trump’s thoughts on important issues.

       Neither the prosecution nor the Court come close to justifying such restrictions. Instead, in

a dizzying irony, the Gag Order lists a long line of Supreme Court cases protecting the civil rights

of criminal defendants in hopes of silencing the criminal defendant in this case. This violation of

the First Amendment is egregious and intolerable. Accordingly, pursuant to Rule 8(a)(1)(A) of the




                                                 3
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 4 of 33




Federal Rules of Appellate Procedure and this Court’s Rules, the Court should immediately stay

the Gag Order pending appeal.

                                  FACTUAL BACKGROUND

       President Trump is the forty-fifth President of the United States and the leading candidate

in the upcoming Presidential Election. He has dominating leads in the race for the Republican

nomination, and he leads President Biden—the executive currently prosecuting him—in general

election polling. President Trump’s political speech reaches the largest audience in American

history, including over 100 million followers on social media across several platforms and

countless other citizens who listen to President Trump’s messages in person, on television, the

internet, newspapers, and other media. 1

       The prosecution filed the indictment in this matter on August 1, 2023. Doc. 1. As this case

is pending, President Trump continues to campaign for President, and one of his core messages is

that the prosecutions against him are part of an unconstitutional strategy to attack and silence the

Biden Administration’s chief political rival. To advance this message, President Trump has made

many public statements criticizing individuals he believes are wrongly prosecuting him, including

President Biden, Attorney General Garland, and Special Prosecutor Jack Smith and his team. This

viewpoint—that the prosecution is politically motivated—is one shared by countless Americans.

       On September 15, 2023, the prosecution filed a motion to impose a gag order on President

Trump, seeking sweeping restrictions on President Trump’s political speech. Doc. 57. In support,

the prosecution made three principal arguments.



1
 For example, as of January 2023, President Trump had over 87 million followers on Twitter, 34
million on Facebook, 23 million on Instagram, almost 5 million on Truth Social, and 2.65 million
on YouTube. See Number of Followers of Donald Trump on Select Social Media Platforms as of
January 2023, STATISTA.COM, at https://www.statista.com/statistics/1336497/donald-trump-
number-of-followers-selected-social-platforms/.


                                                 4
         Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 5 of 33




       First, the prosecution claimed, in conclusory fashion, that silencing President Trump was

necessary to prevent “prejudic[ing] the jury pool.” Id. at 1. Second, that President Trump was

allegedly “attempting … to undermine confidence in the criminal justice system and prejudice the

jury pool through disparaging and inflammatory attacks on the citizens of this District, the Court,

prosecutors, and prospective witnesses.” Id. at 2. And third, that expansive content-based

restrictions were somehow necessary to prevent threats and harassment to third parties. Id.

       The Court declined to adopt the prosecution’s first argument, relating to jury prejudice. For

good reason, as the prosecution submitted no evidence that the jury pool has been actually affected

by any of President Trump’s statements. Likewise, the Court declined to credit the prosecution’s

amorphous, and constitutionally invalid, concern regarding “public confidence” in the prosecution

or the Court.

       Instead, in crafting the Gag Order, the Court looked to the prosecution’s last argument, that

witnesses, prosecutors, and court personnel have somehow been intimidated or harassed. However,

in making this claim, the prosecution did not present any evidence that President Trump harassed

or intimidated anyone. Rather, the prosecution relied exclusively on the allegation that third

parties, with no relationship to President Trump, engaged improperly with political actors—most

of whom had already been criticized by millions of people across the country before President

Trump commented on them. Id. at 3-5.

       The prosecution also did not submit any evidence that: (1) any member of its team has been

threatened or harassed; (2) that any potential witness has actually felt threatened or harassed by

President Trump’s core political speech; (3) that President Trump made any public statement about

any “court staff,” other than the district judge herself; or (4) that any alleged threat, harassment, or




                                                   5
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 6 of 33




intimidation by third parties could not be addressed by means less restrictive than an expansive

prior restraint on President Trump’s speech. See id.

       Nonetheless, on October 17, 2023, this Court entered the Gag Order against President

Trump. Doc. 105. Among other things, the Gag Order prevents President Trump from making

statements “that target … the Special Counsel prosecuting this case or his staff,” or that “target …

any reasonably foreseeable witness or the substance of their testimony.” Doc. 105, at 3.

       In entering the Gag Order, the Court relied heavily on the anticipated reactions of

unidentified, independent third parties to President Trump’s speech. The Court found that “when

Defendant has publicly attacked individuals, including on matters related to this case, those

individuals are consequently threatened and harassed.” Id. at 2. But the Court cited no evidence

that President Trump’s statements—as distinct from the statements of millions of others—caused

such alleged threats or harassment, let alone that the statements were directed to inciting imminent

lawless action.

       Notwithstanding the complete lack of evidence, the Court “f[ound] that [President

Trump’s] statements pose a significant and immediate risk that (1) witnesses will be intimidated

or otherwise unduly influenced by the prospect of being themselves targeted for harassment or

threats; and (2) attorneys, public servants, and other court staff will themselves become targets for

threats and harassment.” Id.

       Based on these perfunctory findings, unsupported by evidence, the Court imposed

sweeping restrictions on President Trump’s core political speech:

       All interested parties in this matter, including the parties and their counsel, are prohibited
       from making any public statements, or directing others to make any public statements, that
       target (1) the Special Counsel prosecuting this case or his staff; (2) defense counsel or their
       staff; (3) any of this court’s staff or other supporting personnel; or (4) any reasonably
       foreseeable witness or the substance of their testimony.




                                                 6
         Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 7 of 33




Id. at 3. The Court then entered a carve-out:

        This Order shall not be construed to prohibit Defendant from making statements criticizing
        the government generally, including the current administration or the Department of
        Justice; statements asserting that Defendant is innocent of the charges against him, or that
        his prosecution is politically motivated; or statements criticizing the campaign platforms
        or policies of Defendant’s current political rivals, such as former Vice President Pence.

Id. President Trump immediately filed a notice of appeal. Doc. 106.

        Despite the extraordinary breadth of these restrictions, the Court held, in conclusory

fashion, that President Trump’s “statements pose sufficiently grave threats to the integrity of these

proceedings that cannot be addressed by alternative means, and it has tailored its order to meet the

force of those threats.” Id.

        The Court did not explain, as it must, how nearly all public statements regarding hundreds

of individuals and topics (sans three narrow carveouts) pose a “clear and present” danger to any

compelling interest. Nor did the Court cite any evidence or provide any analysis to support its

conclusion that less restrictive means were unavailable to address its perceived threats, and it did

not address or consider any specific alternative means. The statements above were the sum total

of the Court’s findings regarding its constitutionally mandated task to narrowly tailor its order and

exhaust all “alternative means” before gagging President Trump’s speech. Id.

                                      LEGAL STANDARD

        A motion for stay pending appeal is governed by four factors: “(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits; (2) whether the

applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies.” Nken v. Holder, 556 U.S. 418, 434 (2009). All four factors favor President Trump here.




                                                  7
           Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 8 of 33




                                              ARGUMENT

          As an initial matter, the Gag Order is an immediately appealable collateral order. Court

orders restricting the freedom of expression for even “minimal” time periods impose per se

irreparable injury. “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). The Gag

Order, therefore, “fall[s] in that small class which finally determine claims of right separate from,

and collateral to, rights asserted in the action, too important to be denied review and too

independent of the cause itself to require that appellate consideration be deferred until the whole

case is adjudicated.” In re Rafferty, 864 F.2d 151, 153 (D.C. Cir. 1988) (quoting Cohen v.

Beneficial Indus. Loan Corp., 337 U.S. 541, 546 (1949)); see also United States v. Brown, 218

F.3d 415, 420 (5th Cir. 2000) and Ford, 830 F.2d at 598, both finding jurisdiction under collateral

order doctrine to consider appeals by criminal defendant politicians contesting the validity of gag

orders.

I.        President Trump Is Likely to Succeed on the Merits Because the Gag Order Is
          Unsupported by Evidence and Violates the First Amendment’s Most Basic Precepts.

          “If there is any fixed star in our constitutional constellation, it is that no official, high or

petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other matters of

opinion.” W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). “At the heart of

the First Amendment lies the principle that each person should decide for himself or herself the

ideas and beliefs deserving of expression, consideration, and adherence.” Turner Broadcasting

System, Inc. v. FCC, 512 U.S. 622, 641 (1994). The Gag Order violates these principles.

          A.     No Evidence Supports the Gag Order’s Animating Concern of Preventing
                 “Threats” and “Harassment” to Prosecutors, Court Staff, or Witnesses.

          The Gag Order cites no evidence supporting its findings of risks of harassment and witness

intimidation, and the prosecution provided none. See Doc. 105, at 1-3. When defense counsel


                                                     8
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 9 of 33




pointed out at oral argument that “[t]he government had every opportunity to get affidavits from

Mr. Barr, General Milley, or Mr. Raffensperger” (supposedly “intimidated” witnesses), the Court

responded, “Why should they have to?” Oct. 16, 2023 Tr. (“Tr.”), at 57. Then, when the Court

asked the prosecution, “What is your response to Mr. Lauro’s criticism that you didn’t provide any

affidavits from either Mr. Barr or General Milley?” the prosecution admitted, “of course this

prejudice is speculative.” Tr. 62.

       Not only is the prosecution’s argument “speculative,” it is poor speculation at that. The

witnesses that third parties listening to President Trump have supposedly intimidated—former

Vice President Pence, former Attorney General Barr, and former Chairman of the Joint Chiefs of

Staff Mark Milley—are extremely high-level public figures who have voluntarily entered the

public arena and invited the cut and thrust of public debate by openly criticizing President Trump.

Thus, the prosecution’s speculation that these witnesses will be “intimidated” by President

Trump’s criticism is non-credible on its face.

       In any event, basing an extraordinary gag order on a Presidential candidate based solely on

the prosecution’s “speculation,” Tr. 62, is insupportable. In Nebraska Press Association v. Stuart,

the Supreme Court emphasized “that prior restraints on speech and publication are the most serious

and the least tolerable infringement on First Amendment rights. . . . A prior restraint . . . has an

immediate and irreversible sanction.” 427 U.S. 539, 559 (1976). “The damage can be particularly

great when the prior restraint falls upon the communication of news and commentary on current

events. Truthful reports of public judicial proceedings have been afforded special protection

against subsequent punishment.” Id. “For the same reasons the protection against prior restraint

should have particular force as applied to reporting of criminal proceedings.” Id.




                                                 9
          Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 10 of 33




          Because of these First Amendment principles, the Court held that proponents of prior

restraints on speech regarding pending criminal proceedings bear “the heavy burden of

demonstrating, in advance of trial, that without prior restraint a fair trial will be denied.” Id. at 569.

The Supreme Court made clear that this “heavy burden” is typically an evidentiary burden.

Focusing on “whether other measures would be likely to mitigate the effects of unrestrained

pretrial publicity,” id. at 562, the Court held that the prior restraint was unjustifiable due to the

lack of evidence to support a finding on that question: “We find little in the record that goes to

another aspect of our task, determining whether measures short of an order restraining all

publication would have insured the defendant a fair trial.” Id. at 563. The lack of evidence was

fatal to the prior restraint in that case: “There is no finding that alternative measures would not

have protected [the defendant’s] rights, and the Nebraska Supreme Court did no more than imply

that such measures might not be adequate. Moreover, the record is lacking in evidence to support

such a finding.” Id. at 565 (emphasis added).

          So also here, “the record is lacking in evidence to support” a finding that President Trump’s

well-known use of rhetoric will intimidate or result in unknown third parties harassing any witness,

prosecutor, or court personnel. Id. For this reason alone, the unprecedented Gag Order, resting on

what the prosecution openly admits are “speculative” concerns, is unlikely to be upheld on appeal.

Tr. 62.

          B.     The Gag Order Is a Content-Based Prior Restraint on Core Political Speech.

          In addition, the Gag Order violates a long series of First Amendment doctrines. First, it

violates three of the First Amendment’s most fundamental precepts at once: It is a (1) content-

based (2) prior restraint on (3) core political speech.




                                                   10
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 11 of 33




       “Speech on matters of public concern is at the heart of the First Amendment’s protection.

That is because speech concerning public affairs is more than self-expression; it is the essence of

self-government. Accordingly, speech on public issues occupies the highest rung of the hierarchy

of First Amendment values, and is entitled to special protection.” Snyder v. Phelps, 562 U.S. 443,

451–52 (2011) (cleaned up) (citing numerous cases). “Speech deals with matters of public concern

when it can be fairly considered as relating to any matter of political, social, or other concern to

the community, or when it is a subject of legitimate news interest; that is, a subject of general

interest and of value and concern to the public.” Id. at 452-53.

       Needless to say, the indictment herein is of enormous public concern and a central issue in

the upcoming election. Thus, President Trump’s opinions of the prosecution, the government

officials pursuing him, and the witnesses against him are all core political statements entitled to

the highest degree of deference. See Ford, 830 F.2d at 599 (“A criminal defendant awaiting trial

in a controversial case has the full power of the government arrayed against him and the full

spotlight of media attention focused upon him. The defendant’s interest in replying to the charges

and to the associated adverse publicity, thus, is at a peak.”).

       Indeed, President Trump’s speech in support of his re-election campaign—which is

inextricably intertwined with this prosecution and his defense—lies “at the core of our electoral

process of the First Amendment freedoms—an area . . . where protection of robust discussion is at

its zenith.” Meyer v. Grant, 486 U.S. 414, 425 (1988) (citations and quotations omitted); see also

Buckley v. Am. Const. Law Found., Inc., 525 U.S. 182, 186–87 (1999); McIntyre v. Ohio Elec.

Comm’n, 514 U.S. 334, 347 (1995) (“[C]ore political speech” encompasses any “advocacy of a

politically controversial viewpoint.” “No form of speech is entitled to greater constitutional

protection than” core political speech.).




                                                  11
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 12 of 33




        Second, as a content-based restriction on President Trump’s speech, the Gag Order is

uniquely “obnoxious” to the First Amendment. Hill v. Colorado, 530 U.S. 703, 723 (2000). The

“rationale of the general prohibition” against content-based regulation “is that content

discrimination raises the specter that the Government may effectively drive certain ideas or

viewpoints from the marketplace.” R.A.V. v. City of St. Paul, 505 U.S. 377, 387 (1992) (emphasis

added and quotation marks omitted).

        Here, The Biden Administration seeks to bar President Trump from speaking because it

does not want the public to hear what its opponent has to say. That is a quintessential violation of

the First Amendment. If our freedom of speech is to mean anything, the Court cannot allow the

prosecution to silence the leading Presidential candidate whose speech and message are politically

threatening to the incumbent President.

        Third, as noted above, prior restraints are “the most serious and least tolerable infringement

on First Amendment rights.” Neb. Press Ass’n, 427 U.S. at 559. A government restriction on

speech whose “object . . . is not punishment but suppression” constitutes a de facto prior restraint.

Near v. Minnesota ex rel. Olson, 283 U.S. 697, 703, 711–12 (1931). The Gag Order is a

quintessential prior restraint.

        C.      The Gag Order Interferes with President Trump’s Ability to Campaign for
                Public Office, Inflicting the Highest Levels of First Amendment Injury.

        The First Amendment’s “constitutional guarantee has its fullest and most urgent

application precisely to the conduct of campaigns for political office.” Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 162 (2014) (quoting Monitor Patriot Co. v. Roy, 401 U.S. 265, 272

(1971)). There can be no greater application of this principle than to a campaign for the Presidency,

the highest office in the United States.




                                                 12
       Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 13 of 33




       Previous cases addressing gag orders on criminal defendants have uniformly deferred to

these “most urgent” First Amendment interests to decline to impose virtually any restriction on a

political candidate’s speech during an ongoing political campaign. In United States v. Ford,

reversing a similar gag order, the Sixth Circuit emphasized the paramount importance of

permitting a criminal defendant who was campaigning for public office to speak publicly about

the case and criticize the prosecution against him in the most robust terms. 830 F.2d 596, 597 (6th

Cir. 1987). The Sixth Circuit emphasized the importance of the “divisive political context of this

case” as a compelling reason not to muzzle the defendant:

       The protection of political speech which concerned the court in Near [v. Minnesota ex rel.
       Olson] is at the core of the First Amendment. Here the defendant, a Democrat, a black
       congressman who represents a largely black constituency in Memphis, is entitled to attack
       the alleged political motives of the Republican administration which he claims is
       persecuting him because of his political views and his race. One may strongly disagree
       with the political view he expresses but have no doubt that he has the right to express his
       outrage. He is entitled to fight the obvious damage to his political reputation in the press
       and in the court of public opinion, as well as in the courtroom and on the floor of Congress.
       He will soon be up for reelection. His opponents will attack him as an indicted felon. He
       will be unable to respond in kind if the District Court’s order remains in place. He will be
       unable to inform his constituents of his point of view. And reciprocally, his constituents
       will have no access to the views of their congressman on this issue of undoubted public
       importance.

Id. at 600–01 (emphases added). The very same reasoning applies here. Even commentators

politically opposed to President Trump observe that the issues raised in this criminal case are

“central to [Biden’s] re-election argument.” 2 A court order preventing President Trump from

“targeting” (whatever that means, see infra) the prosecutors against him or witnesses to his case

(some of whom are political opponents campaigning against him and/or writing books opposing

him) through core political speech is intolerable. President Trump “will soon be up for reelection”



2
 Kevin Liptak, et al., Trump’s Third Indictment Is the Most Personal – and Trickiest – One for
Biden, CNN.COM (Aug. 2, 2023), available at https://www.cnn.com/2023/08/02/politics/joe-
biden-donald-trump-indictment/index.html.


                                                13
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 14 of 33




and “is entitled to fight the obvious damage to his political reputation in the press and in the court

of public opinion.” Ford, 830 F.2d at 601; see also Gentile v. State Bar of Nevada, 501 U.S. 1030,

1043 (1991) (“A defense attorney may pursue lawful strategies to obtain dismissal of an indictment

or reduction of charges, including an attempt to demonstrate in the court of public opinion that the

client does not deserve to be tried.”).

       The Fifth Circuit in Brown applied virtually the same reasoning. 218 F.3d 415. In Brown,

a gag order was imposed, but “the district court temporarily lifted the gag order in this case to

avoid interfering with Brown’s re-election campaign for [Louisiana] Insurance Commissioner.”

Id. at 419. Though the Fifth Circuit upheld a speech restriction post-campaign, it was essential to

Brown’s reasoning that the district court had suspended its gag order on the defendant during the

course of his political campaign, so that he “was able to answer, without hindrance, the charges of

his opponents regarding his indictment throughout the race.” Id. at 430. The Fifth Circuit reasoned

that this suspension was necessary, as the gag order would have otherwise wrongly prevented

Brown from being “able to answer, without hindrance, the charges of his opponents regarding his

indictment throughout the race.” Id. In reaching this conclusion, the Fifth Circuit acknowledged

that “[t]he urgency of a campaign . . . may well require that a candidate, for the benefit of the

electorate as well as himself, have absolute freedom to discuss his qualifications.” Id.

       The Gag Order here violates this guidance. It prevents President Trump from discussing

core political themes that are central to his campaign message and prevents him from criticizing

speakers who are openly criticizing him in campaign events, media appearances, public statements,

and even books—such as former Attorney General Barr, General Milley, and former Vice

President Pence. It blocks him from criticizing the Special Prosecutor, whom President Trump

views as a key player in the political persecution against him. In fact, the Court repeatedly stated




                                                 14
         Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 15 of 33




that it would not give any consideration at all to the fact that President Trump is running a political

campaign during this prosecution. See, e.g., Tr. 83 (“I cannot imagine any other criminal case in

which a defendant is permitted to call the prosecutor ‘deranged’ or ‘a thug,’ and I will not permit

it here simply because the defendant is running a political campaign.”); see also Tr. 17 (expressing

doubt that “the fact that Mr. Trump is running for president and his corresponding need to speak

freely somehow entitles him to make statements that would otherwise be” not permitted). This was

error.

         D.     The Gag Order Gives No Weight to the First Amendment Rights of President
                Trump’s Audiences to Receive His Messages.

         Under the First Amendment, violating the rights of a speaker inflicts an equal and

reciprocal constitutional injury on the listener. “Freedom of speech presupposes a willing speaker.

But where a speaker exists, . . . the protection afforded is to the communication, to its source and

to its recipients both.” Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council,

Inc., 425 U.S. 748, 756 (1976) (emphasis added) (collecting many cases); see also, e.g., Red Lion

Broadcasting Co. v. F.C.C., 395 U.S. 367, 390 (1969) (“It is the right of the viewers and listeners,

not the right of the broadcasters, which is paramount.”); Packingham v. North Carolina, 582 U.S.

98, 104 (2017) (recognizing the right to “speak and listen, and then … speak and listen once more,”

as a “fundamental principle of the First Amendment”); Missouri v. Biden, -- F.4th --, No. 23-

30445, 2023 WL 6425697, at *11 (5th Cir. Oct. 3, 2023) (holding that the “right to listen is

‘reciprocal’ to the … right to speak” and “constitutes an independent basis” for relief). Thus,

injuring President Trump’s ability to speak injures the First Amendment rights of over 100 million

Americans who listen to him, respond to him, and amplify his message.

         Like the right to speak, this right of listeners to receive President Trump’s message is at its

peak in the context of a political campaign, especially for the Presidency. See Susan B. Anthony



                                                   15
          Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 16 of 33




List, 573 U.S. at 162. Both the Sixth Circuit in Ford and the Fifth Circuit in Brown recognized this

paramount interest. In Ford, the court emphasized that, if Congressman Ford were silenced,

“reciprocally, his constituents will have no access to the views of their congressman on this issue

of undoubted public importance.” 830 F.2d at 601. Likewise, the Brown court held that “[t]he

urgency of a campaign … may well require that a candidate, for the benefit of the electorate as

well as himself, have absolute freedom to discuss his qualifications.” 218 F.3d at 430 (emphasis

added).

          The First Amendment interests of a Presidential candidate’s audiences are especially

pressing in the case of President Trump, who is unique as a former President, a front-running

candidate for future Presidency, and the leader of a transformative political movement with an

historical impact on American politics. As Justice Robert H. Jackson wrote, the President

constitutes “a single head in whose choice the whole Nation has a part, making him the focus of

public hopes and expectations. In drama, magnitude and finality his decisions so far overshadow

any others that almost alone he fills the public eye and ear. No other personality in public life can

begin to compete with him in access to the public mind through modern methods of

communications.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 653 (1952) (Jackson,

J., concurring). This is particularly true of President Trump, one of the most dominant and

influential communicators in modern American history. Silencing President Trump’s core political

speech inflicts an incalculable First Amendment injury that directly impacts over 100 million

Americans. 3



3
  President Trump unquestionably has third-party standing to defend the rights of his audiences in
this context. The Supreme Court is “quite forgiving” of third-party standing requirements “[w]ithin
the context of the First Amendment.” Kowalski v. Tesmer, 543 U.S. 125, 130 (2004). The First
Amendment’s overbreadth doctrine, for example, relieves the third-party plaintiff of the burden to
show the usual “close relationship” and “hindrance” required by the third-party standing doctrine,


                                                 16
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 17 of 33




       This Court gave no significant consideration to the First Amendment rights of President

Trump’s audiences. The Gag Order does not mention them, and the prosecution ignored them. At

oral argument, when counsel for President Trump sought to assert these interests, the Court

interrupted counsel and unfairly accused him of making speeches to “an audience other than me.”

Tr. 44 (Mr. Lauro: “And what the government is proposing here is an order not just directed against

President Trump but against the American electorate that wants to hear from President Trump

under these circumstances.” The Court: “Mr. Lauro, no. I’m going to interrupt you. . . . Obviously,

you have an audience other than me in mind.”); see also Tr. 59-60 (Mr. Lauro: “And President

Trump in the middle of a campaign is entitled to put the spotlight on it. The American people are

entitled to understand that and understand the consequences of that.” The Court: “No.”).

       In fact, both before issuance and in the two days since, the Gag Order has received

widespread criticism on this very ground—including from political opponents and critics of

President Trump who nevertheless defend his right to disseminate his messages to his audiences.



id.; instead, Article III injury is all that is required. See id.; United States v. Sineneng-Smith, 140
S. Ct. 1575, 1586 (2020) (Thomas, J., concurring) (“Litigants raising overbreadth challenges rarely
satisfy either requirement [‘close relationship’ and ‘hindrance’], but the Court nevertheless allows
third-party standing.”) (citing Dombroski v. Pfister, 380 U.S. 479, 487 (1965)); N.J. Bankers Ass’n
v. Att’y Gen., 49 F.4th 849, 860 (3d Cir. 2022) (noting that “the requirement that an impediment
exist to the third party asserting his . . . own rights” does not apply when the challenged government
action “substantially abridges the First Amendment rights of other parties not before the court”).
Further, as the Supreme Court held in Bantam Books Inc. v. Sullivan, it is particularly important
to allow third-party standing to vindicate First Amendment interests because “freedoms of
expression … are vulnerable to gravely damaging yet barely visible encroachments” and must be
protected by “the most rigorous procedural safeguards.” 372 U.S. 58, 66 (1963); see also id. at 64
n.6 (upholding the third-party standing of book publishers to assert the rights of distributors
because “[t]he distributor … is not likely to sustain sufficient economic injury to induce him to
seek judicial vindication of his rights,” whereas the seller has a “greater . . . stake” in vindicating
those rights). In addition, the doctrine of third-party standing applies “when enforcement of the
challenged restriction against the litigant would result indirectly in the violation of third parties’
rights.” Kowalski, 543 U.S. at 130. Here, the interference and restriction of President Trump’s First
Amendment rights “would result indirectly in the violation of third parties’ rights,” id.—i.e., the
rights of his audiences to receive, respond to, and amplify his speech.


                                                  17
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 18 of 33




See, e.g., The Editors, The Trump Gag Order Goes Too Far, NATIONAL REVIEW (Oct. 18, 2023)

(“Not only is free speech his right — it is the right of voters in the forthcoming primary and general

elections to hear it before choosing the nation’s next president.”); Andrew McCarthy, The Trump

Gag Order Is Judicial Overkill, NATIONAL REVIEW (Oct. 17, 2021) (“He’d have that right even if

he wasn’t a political candidate; the fact that he is one heightens the court’s duty to minimize the

intrusion of judicial process on the electoral process.”); Isaac Arnsdorf et al., In Trump Cases,

Experts Say Defendant’s Rhetoric Will Be Hard To Police, WASHINGTON POST (Aug. 23, 2023)

(quoting Barbara McQuade, a University of Michigan law professor and former U.S. attorney, as

stating, “Any judge would be very reluctant to jail a candidate for president, not only to protect

the candidate’s First Amendment rights, but to permit voters access to the defendant’s statements

as they decide how to cast their ballots . . .”); Jason Willick, Go Ahead, Silence Donald Trump,

WASHINGTON POST (Sept. 19, 2023) (“[A] gag order against Trump would represent ‘the first time

that a federal judge imposed meaningful limits on the statements and freedom of a major

presidential candidate.’ Not only that, but it also would represent the first time an incumbent

administration has imposed a limit on the freedom of an opposing candidate to criticize the

administration he is trying to replace.”).

       The refusal to consider the First Amendment rights of over 100 million Americans entails

that the Gag Order is unlikely to withstand scrutiny on appeal.

       E.      The Gag Order Imposes an Impermissible Heckler’s Veto on President Trump
               Without Any Evidence of a Heckler.

       The Gag Order’s animating concern is the fear that President Trump’s criticisms of the

prosecutors, witnesses, and court staff might inspire unspecified, independent third parties to

direct “threats” or “harassment” to those criticized by President Trump. This is the central

justification stated in the Gag Order itself. See Doc. 105, at 2. And the Court repeatedly emphasized



                                                 18
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 19 of 33




this concern during oral argument on the motion. See, e.g., Tr. 41 (“[A] defendant’s targeted

disparagement of government officials can go from permissible criticism of those officials to

encouraging harm against them. ‘Will no one rid me of this meddlesome priest’ comes to mind.”);

Tr. 44-45 (Court suggesting that President Trump’s use of the word “thug” to describe prosecutors

“frankly risks a real possibility of violence”); Tr. 59-60, 62, 68, 79 (similar). Like the prosecution’s

other concerns, these concerns about acts of “harassment” from third parties are “speculative.” Tr.

62 (Government attorney: “of course this prejudice is speculative”).

        The Court did not hold, and the prosecution does not contend, that any of President

Trump’s public statements constitute “fighting words” or incitement to imminent lawless action.

See, e.g., Counterman v. Colorado, 600 U.S. 66, 73 (2023) (noting that “incitement—statements

directed at producing imminent lawless action, and likely to do so,” is not protected by the First

Amendment) (cleaned up) (quoting Brandenburg, 395 U.S. at 447). Nor could they. Accordingly,

the Gag Order restricts First Amendment-protected speech based on a speculative reaction to that

speech by independent third parties. See Doc. 105, at 2.

        This is a quintessential heckler’s veto, which is anathema to the First Amendment.

“Participants in an orderly demonstration in a public place are not chargeable with the danger,

unprovoked except by the fact of the constitutionally protected demonstration itself, that their

critics might react with disorder or violence.” Brown v. Louisiana, 383 U.S. 131, 133 n.1 (1966)

(opinion of Fortas, J.). Where the evidence “showed no more than that the opinions which [the

speakers] were peaceably expressing were sufficiently opposed to the views of the majority of the

community to attract a crowd and necessitate police protection,” the Supreme Court held that the

anticipated reaction of the audience—even if unruly or violent—could not justify silencing the

speaker: “[T]he compelling answer is that constitutional rights may not be denied simply because




                                                  19
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 20 of 33




of hostility to their assertion or exercise.” Cox v. Louisiana, 379 U.S. 536, 551 (1965) (cleaned up)

(citing Edwards v. South Carolina, 372 U.S. 229, 237 (1963), and Watson v. City of Memphis, 373

U.S. 526, 535 (1963)); see also, e.g., Forsyth County v. Nationalist Movement, 505 U.S. 123, 134-

35 (1992) (“Speech cannot be . . . punished or banned, simply because it might offend a hostile

mob.”); Collin v. Chicago Park Dist., 460 F.2d 746, 754 (7th Cir. 1972) (“As to the possibility of

there being hostile audience members causing violence, the law is quite clear that such

considerations are impermissible in determining whether to grant permits” to speak). Even if

unidentified third parties might react to President Trump’s statements with “disorder and

violence,” Brown, 383 U.S. at 133 n.1—which no evidence supports—that “fact” alone cannot

justify a prior restraint.

        F.      The Gag Order Relies on Supreme Court Cases Protecting Criminal
                Defendants’ Civil Rights to Silence the Criminal Defendant Here.

        To support the Gag Order, the Court cited two cases: Sheppard v. Maxwell, 384 U.S. 333

(1966), and Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984). Doc. 105, at 1. These cases,

however, justify restrictions on speech about criminal proceedings for the purpose of protecting

the criminal defendant’s right to a fair trial under the Sixth Amendment and the Due Process

Clause. Sheppard focused entirely on protecting the rights of the criminal defendant. It addressed

how to balance the free-speech rights of others to avoid violating the defendant’s fundamental

right to a fair trial. Sheppard concerned “the trial judge’s failure to protect Sheppard sufficiently

from the massive, pervasive and prejudicial publicity that attended his prosecution.” 384 U.S. at

335. It decried prejudicial communications from prosecutors to the media and the carnival-like

atmosphere of media pervading the trial as invading the defendant’s Sixth Amendment and Due

Process rights. Id. at 338-348. It “insisted that no one be punished for a crime without ‘a charge

fairly made and fairly tried in a public tribunal free of prejudice, passion, excitement, and



                                                 20
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 21 of 33




tyrannical power.’” Id. at 350 (quoting Chambers v. State of Florida, 309 U.S. 227, 236-237

(1940)). It held that “the presence of the press at judicial proceedings must be limited when it is

apparent that the accused might otherwise be prejudiced or disadvantaged.” Id. at 358 (emphasis

added). It emphasized that the trial court should have protected “the accused,” id., by controlling

the government’s communications with the media: “the judge should have further sought to

alleviate this problem by imposing control over the statements made to the news media by counsel,

witnesses, and especially the Coroner and police officers,” id. at 360 (emphasis added). The

dominating concern was to protect Sheppard’s right to a fair trial: “Sheppard’s right to a trial free

from outside interference would have been given added protection without corresponding

curtailment of the news media.” Id. at 362 (emphasis added). “Due process requires that the

accused receive a trial by an impartial jury free from outside influences. . . . [T]he trial courts must

take strong measures to ensure that the balance is never weighed against the accused.” Id.

(emphasis added).

        Seattle Times, though it concerned a restriction on civil discovery, emphasized the same

point—that restrictions on free speech relating to criminal cases are designed to protect the rights

of the accused. There, the Court stated: “For instance, on several occasions this Court has approved

restriction on the communications of trial participants where necessary to ensure a fair trial for a

criminal defendant.” 467 U.S. at 32 n.18 (citing Nebraska Press Ass’n, 427 U.S. at 563). And

Nebraska Press Association, which Seattle Times cited for this point, is even more emphatic; it

repeatedly emphasizes that the only thing warranting restrictions on free-speech rights in the

criminal process are the Sixth Amendment and Due Process rights of the criminal defendant. See

Nebraska Press Ass’n, 427 U.S. at 551 (“In essence, the right to jury trial guarantees to the

criminally accused a fair trial by a panel of impartial, ‘indifferent’ jurors.”) (citation omitted); id.




                                                  21
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 22 of 33




(“[W]hen the case is a ‘sensational’ one tensions develop between the right of the accused to trial

by an impartial jury and the rights guaranteed others by the First Amendment.”); id. at 552 (“In

Sheppard v. Maxwell, the Court focused sharply on the impact of pretrial publicity and a trial

court’s duty to protect the defendant’s constitutional right to a fair trial.”); id. at 553 (“Due process

requires that the accused receive a trial by an impartial jury free from outside influences.”); id. at

555 (a trial judge’s actions “may well determine whether the defendant receives a trial consistent

with the requirements of due process”); id. at 556 (addressing “restrictive orders entered to protect

a defendant’s right to a fair and impartial jury”) (all emphases added). Nebraska Press Association

properly framed the question as the conflict between the accused’s Sixth Amendment rights and

the First Amendment rights of others, especially news media: “The authors of the Bill of Rights

did not undertake to assign priorities as between First Amendment and Sixth Amendment rights,

ranking one as superior to the other. In this case, the petitioners would have us declare the right of

an accused subordinate to their right to publish in all circumstances.” Id. at 561.

        For these reasons, in Ford, the Sixth Circuit categorically rejected attempts to muzzle the

defendant based on cases protecting the defendant’s civil rights:

        It is true that permitting an indicted defendant like Ford to defend himself publicly may
        result in overall publicity that is somewhat more favorable to the defendant than would
        occur when all participants are silenced. This does not result in an “unfair” trial for the
        government, however. It is the individual defendant to whom the Sixth Amendment
        guarantees a fair trial. It is the public to whom the First Amendment guarantees reasonable
        access to criminal proceedings. And it is individuals, not the government, to whom First
        Amendment interests attach. To the extent that publicity is a disadvantage for the
        government, the government must tolerate it. The government is our servant, not our
        master.

830 F.2d at 600 (emphasis added). This logic applies with special force here, where President

Trump faces trial in a venue that is already heavily tilted against him. In the most recent election,




                                                   22
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 23 of 33




District of Columbia residents voted against President Trump in overwhelming margins. 4 The

District of Columbia has been subject to pervasive media coverage of the events of January 6,

2021, which the Special Counsel has outrageously linked with this indictment, even though

President Trump is not charged with any legal responsibility for those events. President Trump’s

indictment and the progress of this case have been subject to wall-to-wall media coverage in the

District of Columbia, which has been overwhelmingly negative for President Trump, and driven,

in substantial part, by apparent leaks from the prosecution. Not surprisingly, polls indicate that

almost two thirds of D.C. residents have pre-judged President Trump’s guilt—a number that is

“well above the national average.” 5 In these circumstances, the notion—rejected by the Court—

that extraordinary restrictions on President Trump’s speech are necessary to ensure that the

prosecution can get a fair trial in the District of Columbia is meritless to say the least.

       G.      The Gag Order Restricts Statements About Public Figures, Who Are Entitled
               to Minimal Protection from Public Criticism Under the First Amendment.

       The Gag Order shields from any criticism high-level public officials and public figures.

Doc. 105, at 3. These include the Special Prosecutor and his team, senior government officials who

have volunteered to prosecute one of the highest-profile criminal cases in American history, and

thus have “thrust” themselves “into the vortex of this public issue.” Gertz v. Robert Welch, Inc.,

418 U.S. 323, 352 (1974). These also include possible witnesses against President Trump, such as

Vice President Pence, Attorney General Barr, and General Milley, who are avowed political

opponents of President Trump from the very highest echelons of government—all of whom have


4
    See, e.g., Washington, D.C. Presidential Results, POLITICO (Jan. 6, 2021), at
https://www.politico.com/2020-election/results/washington-dc/ (reporting that 93 percent of
voters in the District of Columbia voted against President Trump).
5
  Ankush Khardori, Some Free Legal Advice for Donald Trump, From the Jury Experts, POLITICO
(Oct. 13, 2023), at https://www.politico.com/news/magazine/2023/10/13/trump-jurors-dc-trial-
00121184 (noting that “[a] recent poll found that 64 percent of D.C. residents believe Trump is
guilty — well above the national average”).


                                                  23
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 24 of 33




publicly criticized President Trump for years, including writing whole books about him to profit

from their public criticism. Id.

       Criticism of such public officials lies “at the very center of the constitutionally protected

area of free discussion” and so such criticisms “must be free, lest criticism of government itself be

penalized.” Rosenblatt v. Baer, 383 U.S. 75, 85 (1966). Likewise, the Special Prosecutor and his

team are public officials, subject to criticism in a free society. The Ninth Circuit, for example, has

said that the discussion of an individual’s “activities as a prosecutor” renders him a public official.

Crane v. Ariz. Republic, 972 F.2d 1511, 1525 (9th Cir. 1991). Likewise, the head of a federal task

force is a public official. See id. at 1524. The Minnesota Supreme Court has held that a county

attorney is a public official. Diesen v. Hessburg, 455 N.W.2d 446, 450 (Minn. 1990). And the

Georgia Supreme Court held that a county’s public defender for misdemeanor crimes is a public

official. ACLU, Inc. v. Zeh, 864 S.E.2d 422, 437-38 (Ga. 2021). Even an assistant state’s attorney

is likely a public official that courts may not shield from criticism. Mandel v. Bos. Phoenix, Inc.,

456 F.3d 198, 206 (1st Cir. 2006) (noting the dearth of authority but concluding that “[w]hat little

case law there is suggests that such a person might be a public official”).

       H.      Prior Restraints Must Be Clear and Specific, and the Gag Order Is
               Unconstitutionally Vague.

       The Gag Order suffers from another fatal defect—unconstitutional vagueness. The

Supreme Court imposes exacting standards of clarity on prior restraints, because they are “the most

serious and the least tolerable infringement on First Amendment rights,” and “one of the most

extraordinary remedies known to our jurisprudence.” Nebraska Press Ass’n, 427 U.S. at 559, 562.

In holding that the gag order at issue in Nebraska Press Association was “too vague and too broad

to survive the scrutiny we have given to restraints on First Amendment rights,” id. at 568, the

Supreme Court cited a series of cases applying the strictest possible scrutiny to questions of



                                                  24
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 25 of 33




vagueness in speech restrictions. See, e.g., Hynes v. Mayor & Council of Borough of Oradell, 425

U.S. 610, 620 (1976) (“The general test of vagueness applies with particular force in review of

laws dealing with speech. Stricter standards of permissible statutory vagueness may be applied to

a statute having a potentially inhibiting effect on speech.”) (modifications omitted); Buckley v.

Valeo, 424 U.S. 1, 77 (1976) (“Due process requires that a criminal statute provide adequate notice

to a person of ordinary intelligence that his contemplated conduct is illegal. . . . Where First

Amendment rights are involved, an even ‘greater degree of specificity’ is required.”); NAACP v.

Button, 371 U.S. 415, 432 (1963) (“[S]tandards of permissible statutory vagueness are strict in the

area of free expression.”) (all cited in Nebraska Press Ass’n, 427 U.S. at 568).

        Under these heightened standards, the Gag Order is unconstitutionally vague in multiple

respects. First, the central operative verb in the prohibition, “target,” is vague. See Doc. 105, at 3

(prohibiting “the parties and their counsel . . . from making any public statements . . . that target”

a series of persons). The verb “target” has a wide range of possible meanings in this context. To

“target” means “to make a target of,” whereas the noun “target” may mean “a mark to shoot at,”

“something or someone marked for attack,” “a goal to be achieved,” “an object of ridicule or

criticism,” or “something or someone to be affected by an action or development,” among several

other    meanings.      Target,      Merriam-Webster        Online,     at    https://www.merriam-

webster.com/dictionary/target. Thus, public statements that “target” the listed persons could

include (1) any statement that refers to them in any way (i.e., any “mark to shoot at”), id.; (2) any

statements that “attack” them in any way—where the question whether a statement “attacks”

someone raises its own vagueness problems, id.; (3) any statement that subjects any person to

“ridicule or criticism” of any kind, id.—where again, the question whether a statement constitutes

“ridicule” or “criticism” raises its own host of vagueness problems; and/or (4) any statement that




                                                 25
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 26 of 33




might “affect” a person in any way (i.e., “someone to be affected by an action”), id.; among many

other possible meanings. This is textbook vagueness. Compare, e.g., Nebraska Press Ass’n, 427

U.S. at 568 (holding that the word “implicative” in a pretrial gag order was unconstitutionally

vague). Moreover, under the Supreme Court’s exacting vagueness scrutiny, the Court must not

presume that a narrower meaning was intended—which entails that the Gag Order is also

unconstitutionally overbroad, as it must be construed to prevent any statement of any kind referring

to any of these people in any way. See Button, 371 U.S. at 432 (“If the line drawn by the decree

between the permitted and prohibited activities of the NAACP, its members and lawyers is an

ambiguous one, we will not presume that the statute curtails constitutionally protected activity as

little as possible. For standards of permissible statutory vagueness are strict in the area of free

expression.”) (emphasis added).

       The Gag Order suffers from other vagueness problems as well. It applies to all “interested

parties,” which (it clearly implies) include parties in addition to “the parties and their counsel.”

Doc. 105, at 3 (“All interested parties in this matter, including the parties and their counsel, are

prohibited. . . .”). An “interested” party is one “affected or involved” by the proceedings.

Interested, Merriam-Webster Online, at https://www.merriam-webster.com/dictionary/interested

(defining “interested” as “being affected or involved: interested parties”). Thus, the Gag Order

might apply to everyone “affected” by or “involved” in the case—which could possibly include

the media covering it, the potential witnesses, the prosecutors, the Department of Justice, President

Trump’s attorneys in other cases, the Trump campaign, the Biden campaign, and virtually every

American voter.

       Likewise, the Gag Order’s reference to “any reasonably foreseeable witness” and “the

substance of their testimony” is incurably vague. The discovery in this case comprises over 10




                                                 26
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 27 of 33




million pages, and the prosecution has not disclosed a witness list. It is anyone’s guess which

witnesses may be “reasonably foreseeable” at this stage. Unless and until the witnesses are called,

President Trump will have to guess what the “substance of their testimony” may involve—but the

Gag Order binds him now. The vagueness doctrine prevents the Court from enforcing these

standards ex post, with the benefit of hindsight, or imposing the Court’s standardless judgment as

to which witnesses are “reasonably foreseeable” after the fact. Instead, when it comes to the Gag

Order’s scope, “men of common intelligence must necessarily guess at its meaning,” rendering it

fatally vague. Hynes, 425 U.S. at 620 (quoting Connally v. General Constr. Co., 269 U.S. 385,

391 (1926)).

       The Gag Order’s carve-outs exacerbate the vagueness problems by imposing new layers of

confusion upon the Order. Doc. 105, at 3. The carve-outs seem to authorize “criticizing the

government generally, including the current administration or the Department of Justice,” but that

does not seem to include criticizing the most relevant figure of the Department of Justice, i.e., Jack

Smith. Id. The carve-outs supposedly allow President Trump to state “that his prosecution is

politically motivated,” but the Gag Order prevents him from “targeting” the specific actors

involved in his prosecution, so it prevents him from giving any specific or detailed justification for

this claim. Id. Where claiming that the prosecution is politically motivated ends, and “targeting”

the prosecutors against President Trump begins, is anyone’s guess. The carve-outs apparently

authorize “statements criticizing the platforms or policies of . . . former Vice President Pence,” id.,

but the “platforms or policies” of candidates like Pence (and Biden) are deeply intertwined with

their views on election integrity, with specific reference to the 2020 election. When does criticism

of Mike Pence’s “platforms or policies” become a statement “that target[s] . . . the substance of

[his] testimony,” id., when questions about the integrity of the 2020 election are “central” to the




                                                  27
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 28 of 33




2024 Presidential campaign? Liptak, supra. Persons of ordinary intelligence must guess at the

answers to these questions.

        Again, attempting to adopt a narrowing construction of the Gag Order’s staggeringly broad,

vague language cannot cure it. Button, 371 U.S. at 432. Therefore, the Court should stay its

application pending appeal.

        I.      The Gag Order Gives No Meaningful Consideration to the Availability of Less
                Restrictive Means to Protect the Judicial Process.

        Finally, the Gag Order gives no meaningful consideration to alternative, less restrictive

measures, including a narrower order. Doc. 105, at 1-3. The prosecution submitted no evidence on

the efficacy of such alternative measures, and the Court made no specific findings on them. See

id. Indeed, the Court failed to provide any explanation for why the specific, extraordinarily broad,

scope of the Gag Order was required to serve the asserted interest, and why no narrower

formulation would suffice.

        This was error. “It is axiomatic that the limitation on First Amendment freedoms must be

‘no greater than is essential to the protection of the particular governmental interest involved.’”

Brown, 218 F.3d at 429 (quoting Procunier v. Martinez, 416 U.S. 396 (1974)); see also Seattle

Times Co. v. Rhinehart, 467 U.S. 20, 32 (1984) (considering “whether the limitation of First

Amendment freedoms is no greater than is necessary or essential to the protection of the particular

governmental interest involved”).

        Thus, the Supreme Court cases addressing such restraints repeatedly emphasize the

necessity of considering alternative means, including non-speech-restrictive means. For example,

to the extent a restriction is intended to protect the defendant’s right to a fair trial (which, again, is

a right belonging to the defendant), numerous options are available. The Supreme Court in

Sheppard emphasized that a lower court’s failure to consider these other options is error:



                                                   28
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 29 of 33




“Sheppard was not granted a change of venue to a locale away from where the publicity originated;

nor was his jury sequestered. . . . On the contrary, the Sheppard jurors . . . were allowed to go their

separate ways outside of the courtroom, without adequate directions not to read or listen to

anything concerning the case.” 384 U.S. at 352–53. The trial judge in Sheppard erred in failing to

adopt (or even consider) such alternatives: “Since he viewed the news media as his target, the

judge never considered other means that are often utilized to reduce the appearance of prejudicial

material and to protect the jury from outside influence. We conclude that these procedures would

have been sufficient to guarantee Sheppard a fair trial.” Id. at 358. Thus, “where there is a

reasonable likelihood that prejudicial news prior to trial will prevent a fair trial, the judge should

continue the case until the threat abates, or transfer it to another county not so permeated with

publicity. In addition, sequestration of the jury was something the judge should have raised sua

sponte with counsel. If publicity during the proceedings threatens the fairness of the trial, a new

trial should be ordered.” Id. at 363.

       Nebraska Press Association, likewise, placed heavy emphasis on the necessity of

considering such less speech-restrictive measures. 427 U.S. at 562 (considering “whether other

measures would be likely to mitigate the effects of unrestrained pretrial publicity”). As noted

above, Nebraska Press Association emphasized the importance of evidence and specific findings

of fact to support the trial court’s conclusions on this very point: “We find little in the record that

goes to another aspect of our task, determining whether measures short of an order retraining all

publication would have insured the defendant a fair trial. . . . [T]he trial court made no express

findings to that effect; the Nebraska Supreme Court referred to the issue only by implication.” Id.

at 563. Citing Sheppard, the Supreme Court emphasized the wide range of alternative measures:

       Most of the alternatives to prior restraint of publication in these circumstances were
       discussed with obvious approval in Sheppard v. Maxwell: (a) change of trial venue to a



                                                  29
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 30 of 33




       place less exposed to the intense publicity. . .; (b) postponement of the trial to allow public
       attention to subside; (c) searching questioning of prospective jurors . . . to screen out those
       with fixed opinions as to guilt or innocence; (d) the use of emphatic and clear instructions
       on the sworn duty of each juror to decide the issues only on evidence presented in open
       court. Sequestration of jurors is, of course, always available. Although that measure
       insulates jurors only after they are sworn, it also enhances the likelihood of dissipating the
       impact of pretrial publicity and emphasizes the elements of the jurors’ oaths.

Id. at 563–64. The failure to consider, receive evidence on, and make findings relating to such

alternative measures was fatal to the trial court’s gag order: “There is no finding that alternative

measures would not have protected [defendant’s] rights. . . . Moreover, the record is lacking in

evidence to support such a finding.” Id. at 565; see also Ford, 830 F.2d at 600.

       Here, the Gag Order gave no specific consideration of such alternative measures such as

(1) change of venue, (2) postponement of trial, (3) searching voir dire, (4) clear jury instructions,

and (5) jury sequestration, among other possibilities. Doc. 105, at 1-3. No evidence was cited, none

was presented, and no findings were made. Id. In fact, at oral argument, the Court expressed its

unwillingness to consider such alternative measures in this context. Sheppard held that the

principal method of addressing pretrial publicity, and by far the least restrictive, is granting a

continuance of the trial: “[W]here there is a reasonable likelihood that prejudicial news prior to

trial will prevent a fair trial, the judge should continue the case until the threat abates.” 384 U.S.

at 362–63 (emphasis added); see also Nebraska Press Ass’n, 427 U.S. at 564 (raising

“postponement of the trial to allow public attention to subside” as an alternative means).

       Yet when President Trump’s counsel proposed this very alternative, the Court categorically

refused to consider it: “This trial will not yield to the election cycle and we’re not revisiting the

trial date.” Tr. 20-21. Nor did the Court meaningfully consider any other means that would be less

restrictive of President Trump’s core political speech. This was error.




                                                 30
        Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 31 of 33




II.    The Remaining Equitable Factors Overwhelmingly Favor a Stay Pending Appeal.

       Given President Trump’s likelihood of success under the First Amendment, see supra Part

I, the other equitable factors—concerning irreparable injury to President Trump, the balancing of

harms, and the public interest—overwhelmingly favor a stay pending appeal.

       First, President Trump’s irreparable injury is established beyond doubt. “The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Therefore, a showing of likelihood of success

on a First Amendment claim necessarily establishes irreparable injury. Phelps–Roper v. Nixon,

545 F.3d 685, 690 (8th Cir. 2008) (concluding that if the movant “can establish a sufficient

likelihood of success on the merits of her First Amendment claim, she will also have established

irreparable harm as the result of the deprivation”).

       As for the balancing of harms and the public interest, “[i]njunctions protecting First

Amendment freedoms are always in the public interest.” Texans for Free Enter. v. Tex. Ethics

Comm’n, 732 F.3d 535, 539 (5th Cir. 2013). Furthermore, the balance of hardships and public

interest “merge when the Government is the opposing party,” Nken v. Holder, 556 U.S. 418, 435

(2009), and “it is always in the public interest to prevent violation of a party’s constitutional

rights,” Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson Cnty., 274 F.3d 377,

400 (6th Cir. 2001). As a result, the demonstration of an ongoing violation of First Amendment

rights dictates that a stay should be entered. Fischer v. Thomas, 52 F.4th 303, 307 (6th Cir. 2022)

(“[I]n First Amendment cases, only one question generally matters to the outcome: Have the

plaintiffs shown a likelihood of success on the merits of their First Amendment claim?”) (citing

Monclova Christian Acad. v. Toledo-Lucas Cnty. Health Dep’t, 984 F.3d 477, 482 (6th Cir. 2020)).

       Here, President Trump is likely to prevail on appeal in his claim that the Gag Order violates

his First Amendment rights. This showing necessitates that (1) President Trump will suffer


                                                 31
       Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 32 of 33




irreparable injury absent a stay, (2) the prosecution will suffer no cognizable injury from a stay

because it has no valid interest in violating President Trump’s First Amendment rights, and (3) the

public interest overwhelmingly favors a stay vindicating President Trump’s First Amendment

rights—especially where the First Amendment right to listen of over 100 million Americans is

also at stake. The Court should grant a stay pending appeal.

                                        CONCLUSION

       For the reasons stated, the Court should stay the Gag Order, Doc. 105, pending the

conclusion of all appellate proceedings challenging it. The Court should also immediately enter a

temporary administrative stay to remain in effect pending ruling by this Court and (if necessary)

the Court of Appeals and/or the Supreme Court on President Trump’s motion(s) for stay pending

appeal. See, e.g., In re Sealed Case No. 99-3091, 192 F.3d 995, 998-99 (D.C. Cir. 1999) (per

curiam); In re Sealed Case, 148 F.3d 1079, 1080 (D.C. Cir. 1998) (per curiam); United States v.

Ford Motor Co., 574 F.2d 534, 538 (D.C. Cir. 1978) (all granting such administrative stays); In re

Abbott, 800 F. App’x 296, 298 (5th Cir. 2020) (“Entering temporary administrative stays so that a

panel may consider expedited briefing in emergency cases is a routine practice in our court.”).

       If the Court does not enter a temporary administrative stay to permit orderly consideration

of this and any subsequent stay motion(s), President Trump respectfully requests that this Court

issue its ruling on this stay motion by Tuesday, October 24, 2023, after which President Trump

intends to seek an emergency stay from the U.S. Court of Appeals for the D.C. Circuit. Such

expedited consideration is highly warranted in a case raising First Amendment questions of

enormous consequence. See Elrod, 427 U.S. at 373 (“The loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.”).




                                                32
       Case 1:23-cr-00257-TSC Document 110 Filed 10/20/23 Page 33 of 33




                             CERTIFICATE OF CONFERRAL

       Counsel for President Trump conferred with counsel for the prosecution, who advise the

government opposes the relief requested herein.




 Dated: October 20, 2023                          Respectfully submitted,


 Todd Blanche, Esq. (PHV)                         /s/John F. Lauro
 toddblanche@blanchelaw.com                       John F. Lauro, Esq.
 Emil Bove, Esq. (PHV)                            D.C. Bar No. 392830
 Emil.Bove@blanchelaw.com                         jlauro@laurosinger.com
 BLANCHE LAW                                      Gregory M. Singer, Esq. (PHV)
 99 Wall St., Suite 4460                          gsinger@laurosinger.com
 New York, NY 10005                               Filzah I. Pavalon, Esq. (PHV)
 (212) 716-1250                                   fpavalon@laurosinger.com
                                                  LAURO & SINGER
                                                  400 N. Tampa St., 15th Floor
                                                  Tampa, FL 33602
                                                  (813) 222-8990
                                                  Counsel for President Trump




                                              33
